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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 1:19-cv-24539-FAM


   HAPPY TAX FRANCHISING, LLC and MARIO
   COSTANZ,
             Plaintiffs,
   v.

   JAMEY HILL, THE JL HILL GROUP, LLC,
   TRICIA DRAGO and BANYAN ACCOUNTING, LLC,
              Defendants,

   _______________________________________________/
   JAMEY HILL, THE JL HILL GROUP ,LLC,
   TRICIA DRAGO and BANYAN ACCOUINITNG, LLC

                  Counterclaim and Third-Party Plaintiffs,
   v.

   MARIO COSTANZ, HAPPY TAX WITHOLDINGS
   CORP., HAPPY TAX FRANCHSIING, LLC, TED
   MUFTIC, MICHAEL HADZIPANAJOTIS and
   MONICA POIRIER

               Counterclaim and Third-Party Defendants.
   _______________________________________________/
         THIRD-PARTY DEFENDANT, MICHAEL HADZIPANAJOTIS’S MOTION FOR
        LEAVE TO FILE AMENDED AFFIRMATIVE DEFENSES TO THE THIRD-PARTY
                                  COMPLAINT

           COMES NOW, the Third-Party Defendant, MICHAEL HADZIPANAJOTIS (“Mr.

   Hadzipanajotis”), by and through the undersigned counsel, and respectfully files this Motion for

   Leave to File Amended Affirmative Defenses to the Third-Party Complaint, in accordance with

   Rule 15(a) of the Federal Rules of Civil Procedure, and in support thereof, states as follows:

           1.     On November 1, 2019, the Plaintiffs, HAPPY TAX FRANCHISING, LLC and

   MARIO COSTANZ (“Plaintiffs”) commenced this action against JAMEY HILL, THE JL HILL

   GROUP LLC, TRICIA DRAGO, and BANYAN ACCOUNTING, LLC (the “Defendants”).

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            2.    On September 17, 2021, the Defendants filed a counterclaim and third-party

   complaint against, inter alia, Mr. Hadzipanajotis. The third-party complaint against Mr.

   Hadzipanajotis (“Third-Party Complaint”) asserts claims for violations of different provisions of

   the Securities Act of 1933 and the Securities Act of 1934 and various rules and regulations

   promulgated thereunder.

            3.    On September 21, 2021, Mr. Hadzipanajotis filed his Answer and Defenses to the

   Third-Party Complaint (“Answer”).

            4.    On January 12, 2022, this Honorable Court struck the affirmative defenses portion

   of the Answer filed by Mr. Hadzipanatjotis, without prejudice.

            5.    Mr. Hadzipanajotis now seeks to file his amended affirmative defenses with the

   requisite specificity. A copy of the proposed Amended Affirmative Defenses is attached hereto as

   Exhibit A.

            6.    Rule 15 of the Federal Rules of Civil Procedure provides that “leave [to amend]

   shall be freely given when justice so requires.” Accordingly, motions to amend pleadings are

   viewed with great liberality. See Spartan Grain & Mill Co. v. Ayers, 517 F.2d 214, 220 (5th Cir.

   1975).

            7.    This is Mr. Hadzipanajotis’s first motion to amend his affirmative defenses, and it

   is made in good faith and is not interposed for the purpose of delay. Moreover, no party to this

   lawsuit will be prejudiced if this motion is granted.

            8.    A copy of a proposed order granting the instant motion is attached hereto as Exhibit

   B.




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   WHEREFORE, the Third-Party Defendant, MICHAEL HADZIPANAJOTIS respectfully

   requests entry of an order granting him leave to file Amended Affirmative Defenses to the Third-

   Party Complaint.



            CERTIFICATE OF GOOD FAITH CONFERENCE UNDER RULE 7.1(3)

   The undersigned certifies that the office of the undersigned has contacted counsel for the Third-

   Party Plaintiffs regarding the relief requested in this Motion via email on the afternoon of February

   11, 2022 and on the morning of February 14, 2022. Counsel for the Third-Party Plaintiffs has

   indicated she does not object to the instant motion and the Third-Party Plaintiffs reserve the right

   to contest the legal sufficiency of the amended defenses once filed.

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                                                         /s/ Frank DelloRusso
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                                                         yanina@southfloridalawpllc.com
                                                         ATTORNEY FOR
                                                         MICHAEL HADZIPANAJOTIS


                                    CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on February 11, 2022, I filed the foregoing document with the

   Southern District of Florida’s CM/ECF system, which has caused email service to be made upon

   all counsel of record.

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                        EXHIBIT A




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 1:19-cv-24539-FAM


   HAPPY TAX FRANCHISING, LLC and MARIO
   COSTANZ,
             Plaintiffs,
   v.

   JAMEY HILL, THE JL HILL GROUP, LLC,
   TRICIA DRAGO and BANYAN ACCOUNTING, LLC,
              Defendants,

   _______________________________________________/
   JAMEY HILL, THE JL HILL GROUP ,LLC,
   TRICIA DRAGO and BANYAN ACCOUINITNG, LLC

                  Counterclaim and Third-Party Plaintiffs,
   v.

   MARIO COSTANZ, HAPPY TAX WITHOLDINGS
   CORP., HAPPY TAX FRANCHSIING, LLC, TED
   MUFTIC, MICHAEL HADZIPANAJOTIS and
   MONICA POIRIER

               Counterclaim and Third-Party Defendants.
   _______________________________________________/
         AMENDED AFFIRMATIVE DEFENSES TO DEFENDANTS’ THIRD-PARTY
                               COMPLAINT

          COMES NOW, the Third-Party Defendant, MICHAEL HADZIPANAJOTIS (“Mr.

   Hadzipanajotis”), states as follows for its affirmative defenses to the Third-Party Complaint filed

   against him by the Defendants/Third-Party Plaintiffs, JAMEY HILL, THE JL HILL GROUP LLC,

   TRICIA DRAGO, and BANYAN ACCOUNTING, LLC.

                                 FIRST AFFIRMATIVE DEFENSE

          Mr. Hadzipanajotis is not an “issuer” as that term is defined in 15 U.S.C. § 77d-1(c)(3) and

   did not offer or sell any security to the Third-Party Defendants.


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                                SECOND AFFIRMATIVE DEFENSE

          All statements and reports audited, prepared, and issued by Mr. Hadzipanajotis regarding

   HT Franchising were correct and performed according to generally accepted accounting principles

   and generally accepted auditing principles. All reports prepared and issued by Mr. Hadzipanajotis

   were based upon financial statements provided by the Third-Party Defendants.

                                THIRD AFFIRMATIVE DEFENSES

          Any errors made in the auditing, preparation, or issuance of reports by Mr. Hadzipanajotis

   were immaterial and without any material impact on the financial statements of HT Financing and

   the financial condition of HT Financing.

                                THIRD AFFIRMATIVE DEFENSES

          Although the Massachusetts Board of Registration of Public Accountancy issued a “Non

   Reporting License” to Mr. Hadzipanajotis, Mr. Hadzipanajotis has been, at all times material, a

   licensed and certified public accountant. The Massachusetts Board no longer issues non-reporting

   versus reporting licenses. When the Massachusetts Board did issue the two types of licenses, the

   primary difference between the two was that a reporting license required two years of experience

   working in a CPA firm. Otherwise, the same requirements, exams, and privileges applied.

   Although Mr. Hadzipanajotis held a non-reporting license, Mr. Hadzipanajotis satisfied all the

   criteria of a reporting licensee, including two years of experience working in a CPA firm. However,

   he simply did not upgrade the license to that of a reporting licensee.

                               FOURTH AFFIRMATIVE DEFENSES

          As a non-reporting licensee recognized by the Massachusetts Board, Mr. Hadzipanajotis

   mistakenly believed the auditing and reporting for HT Franchising was permitted under his non-




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   reporting license because he believed the difference between non-reporting and reporting licenses

   was rooted in whether a company was or was not publicly traded—which HT Franchising was not.

                                 FIFTH AFFIRMATIVE DEFENSE

          The information reported by Mr. Hadzipanajotis based upon the financial statements of HT

   Franchising would not have been any different if the information was reported by an accountant

   having a reporting license, as opposed to a non-reporting license, as it was based upon the financial

   statements provided to him by the Third-Party Plaintiffs.

                                 SIXTH AFFIRMATIVE DEFENSE

          Count III of the Third-Party Complaint fails to state a claim upon which relief may be

   granted as it is predicated upon purported fraud but fails to plead fraud with the requisite degree

   of particularity, contrary to the requirement in Rule 9 of the Florida Rules of Civil Procedure, that

   “[i]n alleging fraud . . . a party must state with particularity the circumstances constituting fraud

   or mistake.”

                               SEVENTH AFFIRMATIVE DEFENSE

          Counts II and III of the Third-Party Complaint fail to state a claim upon which relief may

   be granted. These claims for violations of Section 10(b) of the Securities Act of 1934 and of Rule

   10b-5 must satisfy not only federal notice pleading requirements and the more specific fraud

   pleading requirements of Fed. R. Civ. P. (9)(b), but also the pleading requirements of the Private

   Securities Litigation Reform Act (PSLRA). Pursuant to the PSLRA, if the Third-Party Plaintiffs

   are claiming Mr. Hadzipanajotis made an untrue statement of a material fact or that he omitted to

   state a material fact necessary to make the statement made not misleading, they are required to

   specify each statement alleged to be misleading, and the reason why it is misleading. Moreover,

   such a complaint, with respect to each act or omission alleged to be a violation, must state with



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   particularity facts giving rise to a strong inference that the defendant acted with the requisite state

   of mind. Contrary to this pleading requirement, Plaintiff cites to statements made by Mr.

   Hadzipanajotis in reports but never provides the reason why the statements are misleading.

   Moreover, the Defendants never state with particularity how each of the statements upon which

   they base Mr. Hadzipanajotis’s liability gives rise to an inference of the state of mind applicable

   to such claims: scienter.

                                EIGHTH AFFIRMATIVE DEFENSE

          Counts II and III of the Third-Party Complaint are barred due to the failure of the Third-

   Party Plaintiffs to allege facts leading to an inference of scienter with regard to each Defendant as

   to each alleged misstatement. Counts II and II of The Third-Party Complaint does not, with respect

   to each act or omission alleged, state with particularity facts giving rise to an inference that

   defendant acted with the required statement of mind—scienter. Defendants fail to explain how

   each of the statements give rise to the inference of scienter. Short of uttering the word scienter,

   Third-Party Plaintiffs do not explain how any conduct attributed to Mr. Hadzipanajotis involved

   “scienter.” Scienter is not alleged with respect to each alleged violation of the statute. Here, the

   Third-Party Plaintiffs state that scienter existed, without assertion of particularity facts giving

   inference to that state of mind. For a complaint to survive, a reasonable person would need the

   inference of scienter cogent and at least as compelling as any opposing inference one could draw

   from the facts alleged. Here, a reasonable person would not deem the inference of scienter cogent,

   effective or persuasive, which is why the claims should be dismissed. See Tellabs, Inc. v. Makor

   Issues & Rts., Ltd., 551 U.S. 308, 323, 127 S. Ct. 2499, 2509–10, 168 L. Ed. 2d 179 (2007).




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                                   NINTH AFFIRMATIVE DEFENSE

             Count IV of the Third-Party Complaint is barred and fails to state a claim upon which relief

   may be granted. A claim under section 20(a) of the Securities Act of 1934 provides for derivative

   liability for those who control others to be found primarily liable under the Act. A claim of such

   derivative liability must allege a predicate, primary violation of section 10(b) of the Act. However,

   the Third-Party Plaintiffs have not done so here, where they have insufficiently alleged the element

   of scienter and thus have not alleged a primary violation of section 10(b).

                                  TENTH AFFIRMATIVE DEFENSE

             The Third-Party Complaint as it relates to Mr. Hadzipanajotis fails to state a claim upon

   which relief may be granted because it is not a permissible claim under Rule 14 of the Federal

   Rules of Civil Procedure. Rule 14 provides that “[a] defending party may, as third-party plaintiff,

   serve a summons and complaint on a nonparty who is or may be liable to it for all or part of the

   claim against it.” The claims against Mr. Hadzipanajotis are not dependent on the outcome of the

   main claim filed by the Plaintiffs; they are not based upon derivative lability nor in indemnity,

   subrogation, contribution; instead, the claims against Mr. Hadzipanajotis are separate from the

   claims brought in the main action and attempt to hold Mr. Hadzipanajotis liable because of an

   issue with his licensing and not on account of or relative to any claims asserted against the Third-

   Party Plaintiffs by the Plaintiffs.

             WHEREFORE, the Third-Party Defendant, MICHAEL HADZIPANAJOTIS requests

   this Court find Judgment for the Third-Party Defendant on all counts, grant Third-Party

   Defendant’s reasonable attorney’s fees and costs, and deny all Third-Party Plaintiff’s prayers for

   relief.




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                           JURY TRIAL DEMAND
      THIRD-PARTY DEFENDANT DEMANDS A TRIAL BY JURY ON ALL CLAIMS SO
                                TRIABLE.


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                                                    yanina@southfloridalawpllc.com
                                                    ATTORNEY FOR
                                                    MICHAEL HADZIPANAJOTIS


                                 CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on February 14, 2022, I filed the foregoing document with the

   Southern District of Florida’s CM/ECF system, which has caused email service to be made upon

   all counsel of record.




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                        EXHIBIT B




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 1:19-cv-24539-FAM

   _______________________________________________

   HAPPY TAX FRANCHISING, LLC and MARIO
   COSTANZ,
             Plaintiffs,
   v.

   JAMEY HILL, THE JL HILL GROUP, LLC,
   TRICIA DRAGO and BANYAN ACCOUNTING, LLC,
               Defendants,
   ________________________________________________

   JAMEY HILL, THE JL HILL GROUP ,LLC,
   TRICIA DRAGO and BANYAN ACCOUINITNG, LLC
              Counterclaim and Third-Party Plaintiffs,
   v.

   MARIO COSTANZ, HAPPY TAX WITHOLDINGS
   CORP., HAPPY TAX FRANCHSIING, LLC, TED
   MUFTIC, MICHAEL HADZIPANAJOTIS and
   MONICA POIRIER
              Counterclaim and Third-Party Defendants


                                               ORDER

          THIS CAUSE is before the Court on the Motion for Leave to File Amended Affirmative

   Defenses to the Third-Party Complaint (“Motion”) filed by the Third-Party Defendant, MICHAEL

   HADZIPANAJOTIS (“Mr. Hadzipanajotis”) [ECF No. 178]. It is:

          ORDERED AND ADJUDGED that the Motion is GRANTED. The Amended Affirmative

   Defenses attached to the Motion are deemed filed as of the date of this Order.

   DONE AND ORDERED in Fort Lauderdale, Florida, this ___ day of February, 2022.


                                                       _________________________________
                                                       LAUREN FLEISCHER LOUIS
                                                       UNITED STATES MAGISTRATE JUDGE

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